1
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5    Independent Auditor and Advisor

6                                UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
7                                     SAN FRANCISCO DIVISION

8     In re:
                                                  Bankruptcy Case No.19-30088 (DM)
9     PG&E CORPORATION
                                                  Chapter 11 (Lead Case) (Jointly Administered)
10             - and –

11    PACIFIC GAS AND ELECTRIC                     THIRD MONTHLY FEE APPLICATION
      COMPANY,                                     OF DELOITTE & TOUCHE LLP FOR
12                                                 ALLOWANCE AND PAYMENT OF
                                          Debtors.
                                                   COMPENSATION AND
13
      __Affects PG&E Corporation                   REIMBURSEMENT OF EXPENSES FOR
14    __Affects Pacific Gas and Electric           THE PERIOD JULY 1, 2019 THROUGH
      Company                                      JULY 31, 2019
15    X Affects both Debtors
                                                   Objection Deadline: November  __, 2019 at 4:00
                                                                        December 10
16    *All papers shall be filed in the Lead Case, p.m. (Pacific Time)
      NO. 19-30088 (DM).
17                                                 [No Hearing Requested]

18

19   To: The Notice Parties

20   Name of Applicant:                                Deloitte & Touche LLP

21   Authorized to Provide Professional Services to: Debtors and Debtors in Possession

22   Date of Retention:                                July 24, 2019 nunc pro tunc to January 29, 2019
23   Period     for      which   compensation   and July 1, 2019 through July 31, 2019
24   reimbursement are sought:
25
     Amount of compensation sought as actual $484,091.60 (80% of $605,114.50)
26
     reasonable, and necessary:
27
     Amount of expense reimbursement sought as $4,186.98
28
     actual, reasonable, and necessary:


 Case: 19-30088          Doc# 4817   Filed: 11/19/19    Entered: 11/19/19 17:44:20      Page 1 of
                                                 4
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            Deloitte & Touche LLP (“Deloitte & Touche” or the “Applicant”), independent auditor and
3
     advisor to PG&E Corporation, and Pacific Gas and Electric Company, debtor-in-possession herein
4    (the “Debtors”), hereby submits its Third Monthly Fee Statement (this “Monthly Fee Statement”)
5    for allowance and payment of compensation for professional services rendered and for
6    reimbursement of actual and necessary expenses incurred for the period commencing July 1, 2019
7    through and July 31, 2019 (the “Fee Period”), pursuant to the Order Pursuant to 11U.S.C.§§ 331
8    and 105(a) and Fed. R. Bankr. P. 2016 for Authority to Establish Procedures for Interim
9    Compensation and Reimbursement of Expenses of Professional dated February 27, 2019 [Docket
10   No. 701] (the “Interim Compensation Procedures Order”).

11          By this Monthly Fee Statement, Deloitte & Touche requests allowance and payment of

12   $484,091.60 (80% of $605,114.50) as compensation for professional services rendered to the

13   Debtors during the Fee Period and allowance and payment of $4,186.98 (representing 100% of the

14   expenses allowed) as reimbursement for actual and necessary expenses incurred by Deloitte &

15   Touche during the Fee Period.

16          Annexed hereto as Exhibit A is the name of each professional who performed services for
     the Debtors in connection with these Chapter 11 Cases during the Fee Period covered by this
17
     Monthly Fee Statement and the hourly rate and total fees for each professional. Attached hereto as
18
     Exhibit B is a summary of hours during the Fee Period by task. Attached hereto as Exhibit C is a
19
     summary of expenses incurred during the Fee Period. Attached hereto as Exhibit D are the detailed
20
     time entries for the Fee Period. Attached hereto as Exhibit E are the detailed expense entries for the
21
     Fee Period.
22
            In accordance with the Interim Compensation Procedures Order, responses or objections to
23
     this Monthly Fee Statement, if any, must be filed and served on or before the 21st day (or the next
24
     business day if such day is not a business day) following the date the Monthly Fee Statement is filed
25
     (the “Objection Deadline”) with this Court.
26
             Upon the expiration of the Objection Deadline, the Applicant shall file a certificate of no
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     objection with the Court, after which the Debtors are authorized and directed to pay the Applicant an
28
     amount equal to 80% of the fees and 100% of the expenses requested in this Monthly Fee Statement.


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 Case: 19-30088       Doc# 4817      Filed: 11/19/19       Entered: 11/19/19 17:44:20     Page 2 of
                                                 4
Case: 19-30088   Doc# 4817   Filed: 11/19/19   Entered: 11/19/19 17:44:20   Page 3 of
                                         4
                                              Notice Parties

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   c/o Pacific Gas & Electric Company
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Case: 19-30088     Doc# 4817      Filed: 11/19/19   Entered: 11/19/19 17:44:20   Page 4 of
                                              4
